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                            UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

IN RE:                                              )      CHAPTER 7
                                                    )
CHAN SUK KIM,                                       )      CASE NO. 21-52662-LRC
                                                    )
                   DEBTOR.                          )

           NOTICE OF APPOINTMENT OF INTERIM SUCCESSOR TRUSTEE
                        AND MEETING OF CREDITORS

         On August 1, 2022, Trustee Bargar resigned from this case. (Dkt. No. 48) The United States
Trustee gives notice that, pursuant to 11 U.S.C. §§ 701 and 703, S. Gregory Hays is appointed as
interim successor trustee in this case and is designated to preside over the meeting of creditors. The
trustee shall serve under the blanket bond heretofore approved. Pursuant to Bankruptcy Code sections
702 and 703(a) and F.R.Bankr.P 2003(f), the United States Trustee will convene a special meeting of
creditors. Unless creditors elect another trustee, the interim successor trustee appointed herein shall
serve as trustee without further appointment or qualification under the same bond. The name and
address of the interim successor trustee and the date, time, and location of the special meeting of
creditors are as follows.

 S. Gregory Hays                 September 13, 2022, at 8:50 a.m.
 2964 Peachtree Road, NW
 Suite 555                       The meeting will be held by telephone conference call.
 Atlanta, GA 30302 -2153         To attend, dial: 866-909-7148.
 Phone: (404) 926-0051           When prompted, enter participant code: 4958999#.

Notice given by:                            MARY IDA TOWNSON
                                            UNITED STATES TRUSTEE, REGION 21

                                            s/ Jeneane Treace
                                            R. Jeneane Treace
                                            Georgia Bar No. 716620
                                            United States Department of Justice
                                            Office of the United States Trustee
                                            362 Richard B. Russell Federal Building
                                            75 Ted Turner Drive, S.W.
                                            Atlanta, Georgia 30303
                                            (404) 331-4437
                                            jeneane.treace@usdoj.gov
